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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS


FACTOR 2 MULTIMEDIA SYSTEMS, LLC,

                      Plaintiff,                    C.A. No. 6:24-cv-00362-XR

      v.                                            JURY TRIAL DEMANDED
EARLY WARNING SERVICES, LLC;
BANK OF AMERICA CORPORATION.;
TRUIST FINANCIAL CORPORATION;
CAPITAL ONE FINANCIAL
CORPORATION; JPMORGAN CHASE &
CO.; THE PNC FINANCIAL SERVICES
GROUP, INC.; U.S. BANCORP; and
WELLS FARGO & COMPANY,
                   Defendants.


              UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
            WELLS FARGO & COMPANY TO RESPOND TO COMPLAINT


       Defendant Wells Fargo & Company (“Wells Fargo”), by and through its undersigned

counsel, respectfully moves this Court to extend the date by which to answer, move, or otherwise

respond to Plaintiff’s Complaint. Wells Fargo was served on August 14, 2024, making its response

due Wednesday, September 4, 2024.

       Wells Fargo respectfully requests that the deadline to answer or otherwise respond to the

Complaint be extended by forty-five (45) days to Monday, October 21, 2024, due to the extended

deadline falling on Saturday, October 19, 2024. Counsel for Wells Fargo conferred by telephone

with Plaintiff’s counsel on August 26, 2024. Plaintiff’s counsel is not opposed to this Motion.

       Wells Fargo does not seek delay in this case and submits this request so that justice may

be done.




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Dated: September 4, 2024                 K&L GATES LLP

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                                         Attorneys for Defendant WELLS FARGO &
                                         COMPANY




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                             CERTIFICATE OF CONFERENCE


       I certify that, as recited, I conferred by telephone on August 26, 2024, with opposing

counsel concerning this Motion. Opposing counsel Joseph J. Zito indicated that his client was not

opposed to the request for additional time.


                                                                         /s/   Vincent Galluzzo
                                                                               Vincent Galluzzo



                                 CERTIFICATE OF SERVICE

       I certify that on September 4, 2024, a true and correct copy of the foregoing document

was served electronically, via ECF, on all counsel of record who are deemed to have consented

to such service under the Court’s local rules.


                                                                   /s/     Matthew Blair
                                                                                  Matthew Blair




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